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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Jane Doe
                                          Plaintiff,
v.                                                        Case No.: 1:17−cv−03688
                                                          Honorable John Robert Blakey
Harpercollins Publishers, LLC, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 19, 2018:


        MINUTE entry before the Honorable John Robert Blakey: On the Court's own
motion, the status hearing previously set for 1/23/18 is stricken and reset for 3/7/18 at 9:45
a.m. in Courtroom 1203. The stay imposed on 12/6/17 remains in place pending further
order. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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